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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

STATE OF TEXAS, et al.,

         Plaintiffs,

v.                                                            No. 5:22-CV-185-H

XAVIER BECERRA, Secretary of Health
and Human Services, et al.,

         Defendants.
                                            ORDER
        Before the Court is Defendants’ Motion for Clarification. Dkt. No. 86. The

defendants indicate (id. at 2) that, after conferring with the plaintiffs, the motion is opposed.

Plaintiffs must file a response no later than September 12, 2022.

         So ordered on September 2, 2022.



                                                 JAMES WESLEY HENDRIX
                                                 UNITED STATES DISTRICT JUDGE
